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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                    §
STUDENTS FOR JUSTICE IN                             §
PALESTINE AT THE UNIVERSITY OF                      §
HOUSTON, et al.,                                    §
                                                    §
         Plaintiffs,                                §
                                                    §
v.                                                  §               No. 1:24-CV-523-RP
                                                    §
GREG ABBOTT, in his official capacity only as       §
the Governor of the State of Texas, et al.,         §
                                                    §
         Defendants.                                §


                          DECLARATION OF LATONYA ROBINSON


         I, LaTonya Robinson, have personal knowledge, or knowledge based on my review of business
records of the University of Texas at San Antonio, of all statements below. I hereby swear, affirm, and
attest to the following pursuant to Federal Rule of Evidence 803(6), 901(b)(7), 902(11):

     1. I am over 18 years of age, of sound mind, and capable of making this declaration. The facts
        stated in this declaration are within my personal knowledge and are true and correct.
     2. I am an employee with the University of Texas at San Antonio, and I am executing this
        declaration as part of my assigned duties and responsibilities.

     3. The business records attached to this declaration are true and accurate copies of the records.
        These records were made at or near the time of the information recorded. It is the regular
        business practice of UTSA to record the information set forth in the attached records. These
        records were kept in the course of regularly conducted activity of UTSA. I am familiar with
        the records and the circumstances under which they were made.

     4. I am employed by the University of Texas at San Antonio (UTSA) as the Senior Vice Provost
        for Student Affairs and Dean of Students. I was hired as the Director of Student Life Initiatives
        in Student Life at UTSA in July 2017. In June 2019, I was appointed to my current role.

     5. The Young Democratic Socialists of America (YDSA) and Students for Justice in Palestine
        (SJP) have both been registered student organizations at UTSA. Registration must be renewed
        annually. It is the responsibility of every student organization and/or its representatives to
        register their student organization every year. YDSA complied with UTSA policy and renewed
        its registration for Academic Year 2023-2024 (AY 23-24).
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       6. SJP failed to renew its registration for AY 23-24. Multiple emails were sent from UTSA staff
          to SJP’s designated representative to notify SJP of the registration requirement. Additional
          communications were sent to reiterate the registration requirement in advance of SJP’s
          planned marches and fundraisers on campus. Over AY 23-24, SJP was in violation of
          University Handbook of Operating Procedure (HOP) 9.10 for soliciting on campus while
          failing to register the organization. Although SJP was informed it was in violation of UTSA
          policy, SJP was not banned from campus.

Pro-Palestinian Student Organizations Escalate Campus Disruption

       7. Over the Academic Year 2023-2024, YDSA and SJP held a number of events on campus.
          Some of these caused disruptions to normal campus activities. Further, UTSA received an
          escalating number of complaints of Jewish religious discrimination or Jewish identity
          discrimination over AY 23-24.

                a. On October 12, 2023, SJP called for a Day of Resistance. After the event, UTSA’s
                   Behavioral Intervention Team (BIT) received a report that Turning Point USA,
                   another registered student organization had a large ball at its table during the event.
                   The ball had “death to Israel” and “Israel’s favorite targets are children” written on it.

                b. On October 30, 2023, a parent reported that his son was being harassed and
                   discriminated against by his roommate for being Jewish. The student was relocated by
                   Housing to a different unit, a discrimination complaint was filed with the Equal
                   Opportunity Services (EOS) office, and a police report filed. After conducting an
                   investigation, EOS was unable to substantiate the discrimination.

                c. On November 9, 2023, students called for a Middle East ceasefire during a walkout.
                   https://paisano-online.com/37599/news/students-call-for-ceasefire-in-gaza-at-the-
                   sombrilla/;     https://www.tpr.org/news/2024-05-01/san-antonio-students-march-
                   for-right-to-protest-war-in-gaza Students chanted “From the River to the sea,
                   Palestine    will    be    free”   and    carried    signs     with    the     phrase.
                   https://www.sacurrent.com/news/university-of-texas-at-san-antonio-students-call-
                   for-middle-east-ceasefire-during-walkout-33052017 Neither the students nor student
                   organizations involved in organizing the walkout were disciplined for their use of the
                   phrase.

                d. On November 14, 2023, Hillel 1 organized a display in the grass near the Sombrilla.
                   The display, titled “Balloons of Hope,” decorated the grass with 10 rows of empty
                   chairs that each included a balloon and a flier that pictured and identified Israeli
                   hostages as “kidnapped.” https://paisano-online.com/37822/news/pro-israel-
                   display-depicts-those-kidnapped-during-conflict/ On November 20, 2023, EOS
                   received a complaint of religious discrimination alleging the Balloons of Hope display
                   was vandalized on Friday, November 17, 2023. The UTSA Police Department (PD)
                   also received a report that the event was vandalized. UTSA PD and EOS separately
                   investigated. Neither UTSA PD nor EOS were able to identify the perpetrators. As a

1
    Hillel is a registered student organization.
                                                                                                           2
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    result, UTSA PD closed its investigation and EOS dismissed the complaint. The act
    of vandalism is truly and accurately depicted below:




                                                                                   3
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                 e. On November 16, 2023, a “Shut It Down For Palestine Again” event occurred on
                    campus, as students walked out of their classes to gather and advocate in support of
                    Palestine. https://paisano-online.com/37793/news/students-walk-out-for-a-second-
                    time-in-support-of-palestine/ Students were carrying signs stating “From the River to
                    the sea, Palestine will be free,” as truthfully and accurately depicted by the following:
                    https://www.reddit.com/r/UTSA/comments/17rjzbi/utsa_students_protest_for_p
                    alestine/ Neither the students nor student organizations involved in organizing the
                    walkout were disciplined for their use of the phrase.

                 f. On January 27, 2024, a student reported that another student frequently referred to
                    people who are Jewish as “dirty Jews,” “cheap Jews,” “Zionist swineboards,” and
                    demanded that they “return his capital city” to him. The matter was referred to EOS
                    for investigation.

                 g. On February 1, 2024, student reported that he was concerned about a friend on
                    Instagram posting antisemitic propaganda. 2 The student provided screenshots of the
                    propaganda. Because the reporter was not able to identify the other student, BIT
                    offered support and discussed ways for the student to have a discussion on the
                    content.

                 h. On February 6, 2024, BIT received another complaint of religious discrimination. A
                    student reported another student for referring to a Jewish, lesbian, transgender student
                    as “a kike, a faggot, and a tranny.” The matter was referred to EOS for investigation.

                 i.   On February 8, 2024, a Palestinian student reported to his professor that he received
                      threats daily based on his Palestinian/Jordanian national origin. The matter was
                      referred to EOS for investigation.

                 j.   On March 3, 2024, a student wrote in Arabic on a whiteboard, “I hate Jews”. The
                      student accepted responsibility and signed a waiver of the disciplinary process. The
                      student was placed on disciplinary probation, met with an E.P.I.C.
                      (https://www.utsa.edu/students/conduct/philosophy/) mentor, and completed a
                      reflective project. 3

                 k. On March 26, 2024, Hillel hosted an Israel Expo on campus to showcase Israeli
                    heritage.     https://paisano-online.com/39432/news/israel-exposition-showcases-
                    nations-heritage/ At Hillel’s request, UTSA provided a broad presence from the
                    Division of Student Affairs and the Department of Public Safety.

                 l.   On April 2, 2024, EOS received an incident report from a student alleging he was
                      harassed based on his religion while working at a coffee shop on campus. The student
                      stated he identified as Jewish and is from Argentina. The student alleges the two
                      respondents would utter the phrase “Free Palestine” while working near him and
                      placed Palestinian flags around the workspace. The student also alleged the
                      respondents stated that, because he is Argentinian, he was actually German, not

2
    Exhibit C.
3
    Exhibit A.
                                                                                                           4
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     Jewish, and called him a Nazi. EOS referred the matter to Student Conduct and
     Community Standards for their review because the alleged conduct occurred during
     work, not within a UTSA educational program and activity, and CP did not express
     that RPs’ statements had any impact on his access to an educational program and
     activity. The respondent students were given a warning about professional workplace
     conduct.

  m. On April 8, 2024, a student vandalized the Sombrilla Plaza on campus by spray-
     painting anti-Israeli statements and inverted red triangles over the faces of students on
     various posters, some of which promoted inclusion. The act of vandalism is truly and
     accurately depicted below in the following images:




                                                                                            5
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                                                                  6
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             n. I since learned that the inverted red triangle has been used by Hamas to identify Israeli military
                 targets, and by Nazis to identify prisoners in death camps during the Holocaust.
                 https://www.cbc.ca/news/canada/gaza-red-triangle-meaning-1.7216788. The student
                 was arrested onsite by UTSA PD. 4 He attempted to justify his actions by stating UTSA had
                 not made a strong enough statement for support of Palestine. The student accepted
                 responsibility for his actions. He was placed on disciplinary probation, paid restitution of
                 $5,529.52 for the damage, met with a mentor, and completed a reflective paper. The student
                 was a member of YDSA. An un-registered student organization, the San Antonio chapter of
                 the Party for Socialism and Liberation (PSL), issued a statement defending the student’s
                 actions as a peaceful protest and criticizing UTSA for sanctioning him.
                 https://www.instagram.com/p/C5l_j6CRgMt/?igsh=MXBsc3JjZHpkcWZvaw%3D
                 %3D&img_index=1;5       https://paisano-online.com/39731/news/israel-palestine-

4
 Exhibit B.
5
 I know this to be PSL’s Instagram account through personally observing the account broadcast updates on their
past events on campus, depict events at UTSA, and because the account self-identifies as belonging to “PSL San
Antonio.”
                                                                                                                 7
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     tensions-increase-around-utsa/ Although PSL is not registered with UTSA, it frequently
     organizes with YDSA and SJP.

  o. On April 15, 2024, the “Coordinated Economic Blockade to Free Palestine” protest
     halted      traffic    between       Valero      and       UTSA.        https://paisano-
     online.com/39731/news/israel-palestine-tensions-increase-around-utsa/               The
     intersection of UTSA Boulevard and Valero Way was shut down, along with the access
     road of Loop 1604. The stated purpose of the protest was “to disrupt and blockade
     economic logistical hubs and the flow of capital.” https://www.a15action.com/
     Regular university activity was disrupted as students, staff, and faculty were unable to
     enter campus from that entry point due to the protesters’ blockade.

  p. On April 23, 2024, YDSA organized a Die-in event. Students laid on the ground in
     front of the John Peace library and carried signs with the phrase “From the River to
     the sea, Palestine will be free”. Neither the students nor student organization involved
     in organizing the event were disciplined for their use of the phrase.

  q. On April 24, 2024, UTSA students gathered on campus for a “Gaza Solidarity Action”
     protest            organized            by           YDSA            and           PSL.
     https://x.com/SamOwensphoto/status/1783243876322484326?ref_src=twsrc%5Et
     fw%7Ctwcamp%5Etweetembed%7Ctwterm%5E1783243876322484326%7Ctwgr%
     5Ef09a83960f587422dac4c9eca9a0b65d55dab2d4%7Ctwcon%5Es1_&ref_url=https
     %3A%2F%2Fwww.tpr.org%2Fnews%2F2024-04-24%2Fut-austin-students-walk-
     out-to-support-palestinians-as-part-of-nationwide-protests;
     https://www.tpr.org/news/2024-04-24/ut-austin-students-walk-out-to-support-
     palestinians-as-part-of-nationwide-protests Students chanted “From the River to the
     sea, Palestine will be free” and carried signs with the phrase. Neither the students nor
     the organizations involved in organizing the protest were disciplined for their use of
     the phrase.

  r. Also on April 24, 2024, a student reported that an alumnus and member of Turning
     Point UTSA held a meeting on campus during which he made “disturbing remarks
     regarding Jewish heritage.”

  s. On April 29, 2024, UTSA students held a demonstration of Solidarity with Gaza and
     Student Activists Nationwide Sit In. Students chanted “From the River to the sea,
     Palestine will be free” and carried signs with the phrase. Neither the students nor
     student organizations involved in organizing the demonstration were disciplined for
     their use of the phrase.

  t. On May 1, 2024, The YDSA joined with other student groups to present a letter to
     President Eighmy in response to Governor Abbott’s Executive Order GA-44.
     https://www.scribd.com/document/728489173/UTSA-Letter;
     https://www.tpr.org/news/2024-05-01/san-antonio-students-march-for-right-to-
     protest-war-in-gaza SJP and PSL also organized a protest and march around campus.
     https://www.instagram.com/p/C6ZmFJzR-rs/?locale=zh-
     TW&hl=ar&img_index=1 Students chanted “From the River to the sea, Palestine will
                                                                                           8
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              be free” and carried signs with the phrase. Neither the students nor student
              organizations involved in organizing the event were disciplined for their use of the
              phrase.

UTSA’s Peaceful Public Assembly Policy

   8. On April 23, 2024, I addressed several protestors wearing PSL shirts, requesting that UTSA
      was asking them not to use the expression “From the River to the Sea, Palestine will be free.”
      Our request to the protestors was based on a request for civil discourse during a fraught time
      on campus. UTSA did not incorporate this request into its written policies, and only asked
      students to refrain from using the expression as a temporary measure while awaiting guidance
      from the University of Texas System on how we should revise campus policies in response to
      GA-44. UTSA understands that the operative clauses of Governor Abbott’s executive order
      do not instruct public universities in Texas to prohibit the simple use of the phrase, and do
      not themselves prohibit the simple use of the phrase.

   9. On June 7, 2024, UTSA revised its Peaceful Public Assembly, HOP 9.37, defining
      antisemitism consistent with Texas Government Code Section 448.001 and prohibiting
      unlawful discrimination on the basis of antisemitism as provided under subpart IV(B) & (C)
      of the policy. https://www.utsa.edu/hop/chapter9/9-37.html. UTSA’s revised policies do
      not prohibit the simple use of the phrase “From the River to the Sea, Palestine will be free.”

   10. UTSA is committed to freedom of expression and has not declined a request by a student
       group to protest on campus or engage in any pro-Palestinian/anti-Israeli activities.

   11. In accordance with UTSA HOP 9.37, students, faculty, staff and the public have the right to
       assemble, speak and attempt to attract the attention of others. Such expressive activities are
       subject to the university’s time, place and manner regulations.

   12. In keeping with UTSA’s institutional values, individuals are prohibited from badgering,
       harassing or assaulting any other person for any reason; damaging property; or disrupting the
       normal                 business                of               the                university.
       https://www.utsa.edu/president/campusandcommunity/free-speech-at-utsa/public-
       forums.html

   13. UTSA enforces the above policies, as well as all other campus policies, equally against all
       individuals and organizations regardless of their affiliation, the viewpoint or content of their
       expression, or any protected characteristic, and UTSA will continue to do so in the future.

   14. As part of UTSA’s commitment to civil discourse, UTSA has hosted multiple workshops and
       courses over the AY 23-24 designed to build capacity for respectful discourse in and out of
       the classroom. https://www.utsa.edu/president/campusandcommunity/free-speech-at-
       utsa/capacity-building.html

   15. UTSA does not now and has not previously had a written policy prohibiting the simple use of
       the phrase “From the River to the sea, Palestine will be free.” In accordance with UTSA’s
       commitment to freedom of expression, the simple use of that phrase will not be prohibited.

                                                                                                     9
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       The phrase will only be prohibited if accompanied by other behavior otherwise prohibited by
       publicly posted UTSA policy, student code of conduct, state or federal law.

   16. UTSA has not disciplined any student for their simple use of the phrase “From the River to
       the sea, Palestine will be free.” To the extent UTSA’s campus officials previously asked
       students not to avoid simply expressing this slogan, it will not do so again in the future.

   17. Attached hereto as Exhibit A is a true and accurate copy of the Student Conduct – Behavioral
       and Academic Dishonesty Referral from the March 3, 2024 incident described above in which
       a student wrote an antisemitic slur on a white board.

   18. Attached hereto as Exhibit B is a true and accurate copy of the Criminal Case Report created
       by the UTSA Police Department relating to the incident of vandalism at Sombrilla Plaza on
       April 8, 2024.

   19. Attached hereto as Exhibit C is a true and accurate copy of the Behavioral Intervention Team
       Incident Report from the February 1, 2024 incident described above in which a student
       reported being targeted with antisemitic propaganda.

   20. Attached hereto as Exhibit D is a true and accurate copy of Peaceful Public Assembly, HOP
       9.37, in effect between February 15, 2019 and June 7, 2024.

   21. Further, Declarant sayeth naught.

PURSUANT TO 28 U.S.C. § 1746, I VERIFY UNDER PENALTY OF PERJURY UNDER
THE LAWS OF THE STATE OF TEXAS AND THE UNITED STATES OF AMERICA
THAT THE FOREGOING IS TRUE AND CORRECT.

Executed on August 16, 2024.



                                             ______________________________
                                             LaTonya Robinson
                                             Senior Vice Provost for Student Affairs and Dean of
                                             Students at The University of Texas at San Antonio




                                                                                                10
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                                     EXHIBIT A
Student Conduct – Behavioral and Academic Dishonesty Referral from March 3, 2024 Incident
               Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 12 of 63

                                  University of Texas at San Antonio
                     Student Conduct - Behavioral and Academic Dishonesty Referral
                                     Submitted on March 22, 2024 at 11:23:01 am CDT
Nature                         General
Urgency                        normal
Incident Date and Time         2024-03-03
Incident Location              JPL-John Peace Library Group Spot A

Reported by
Name:                          Hilda Pena on behalf of EOS/Title IX Office
Title:                         Staff
Email:
Phone                          2104584120
Address:
                               [Authenticated as Monse Pena]

Involved Parties
                     (           )                                              @my.utsa.edu
Respondent


Please provide the details for this referral in the section below.
Was this incident report to the UTSA Police Department?
Yes

For Behavioral referrals, please choose what best describes the type of incident you are reporting:


Please describe in detail the reason for this referral.
This matter is being referred to be reviewed under the Student Code of Conduct (SCCS) and we support the
Epic Journey.

If this is a referral for suspected Academic Dishonesty, have you completed and uploaded the Faculty Disposition of a
Academic Dishonesty Case Form?
No

For Academic Dishonesty referrals, please provide allegation information:


What College is reporting? Select option below.


What is the Course Name?


What is the Course Number?


What is the course Section Number?


What is the course CRN?


Has the referral been reviewed and signed by your Dean or Chair? If so, please provide their name.
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    (FOR EOS/TITLE IX STAFF USE ONLY) This incident is being referred for:
    General Referral

    (FOR EOS/TITLE IX STAFF USE ONLY) If referred for DOA was there also a separate referral submitted for Title IX
    violations?
    NO



Pending IR #00015579
Submitted from 70.125.138.130. Processed by routing rule #2. Routed to Marian R. Harris, Data Systems Coordinator, Student Conduct and
Community Standards.
Copies to: anne.jimenez@utsa.edu
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                                    University of Texas at San Antonio
                       Student Conduct - Behavioral and Academic Dishonesty Referral
        Submitted on March 22, 2024 at 11:23:01 am CDT. Last modified March 22, 2024 at 11:56:47 am CDT.
Nature                            General
Urgency                           normal
Incident Date and Time            2024-03-03
Incident Location                 JPL-John Peace Library Group Spot A

Reported by
Name:                             Hilda Pena
Title:                            Intake Analyst
Email:                            monse.pena@utsa.edu
Phone                             2104584120
Address:

Involved Parties
                       (            )                                                        @my.utsa.edu
Respondent                                        male                  Off Campus


Please provide the details for this referral in the section below.
Was this incident report to the UTSA Police Department? Yes
For Behavioral referrals, please choose what best describes the type of incident you are reporting:
Please describe in detail the reason for this referral.
Inappropriate Behavior

SC Group Note 3/6/24-McGowan-Staff reported someone walked up to her in JPL Library and reported that an
anti-Semitic slur had been written in Arabic on the white board in one of the rooms. McGowan took a picture
of the slur which translated to "I hate Jews" and then erased it from the board. PD reviewed camera footage
and observed an unidentified male writing the slur. EOS has received this referral and will create IR for SC
Group. Handled by PD.

This matter is being referred to be reviewed under the Student Code of Conduct (SCCS) and we support the
Epic Journey.

If this is a referral for suspected Academic Dishonesty, have you completed and uploaded the Faculty Disposition of a
Academic Dishonesty Case Form? No
For Academic Dishonesty referrals, please provide allegation information:
What College is reporting? Select option below.
What is the Course Name?
What is the Course Number?
What is the course Section Number?
What is the course CRN?
Has the referral been reviewed and signed by your Dean or Chair? If so, please provide their name.
(FOR EOS/TITLE IX STAFF USE ONLY) This incident is being referred for: General Referral
(FOR EOS/TITLE IX STAFF USE ONLY) If referred for DOA was there also a separate referral submitted for Title IX
violations? NO


Pending IR #00015579
Submitted from 70.125.138.130 and routed to Marian R. Harris (Data Systems Coordinator, Student Conduct and Community Standards)
Modified by Marian R. Harris on March 22, 2024 at 11:56:47 am CDT from 136.50.205.250
Copies originally to: anne.jimenez@utsa.edu
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                                EXHIBIT B
         Criminal Case Report – April 8, 2024 Sombrilla Plaza Vandalism
                     Case 1:24-cv-00523-RP University
                                            Document  of Texas at SanFiled
                                                            32-8      Antonio
                                                                            08/19/24 Page 16 of 63
                                                                        Police Department

                                                                    CRIMINAL CASE REPORT

                                                          One UTSA Circle San Antonio, TX 78249

               PHONE: 210-458-4242                                      FAX: 210-458-7602                                          police@utsa.edu
LOCATION OF OCCURRENCE / ADDRESS                                                                                    DATE / TIME REPORTED          CASE NO.
McKinney Humanities Building / FACING SOMBRILLA, ONE UTSA Circle                                                    04/08/2024 01:32              2024-00264
SAN ANTONIO, TX 78249, Bexar County



CODE SECTION                 CRIME DESCRIPTION                                      CLASSIFICATION                                      LOSS              RECOVERY
TPC 38.04                    Evading Arrest                                         OFFENSE                                             0.00              0.00
TPC 28.08                    Graffiti                                               OFFENSE                                             1000.00           0.00
FROM: DATE/TIME                         TO: DATE/TIME                               APPROVED                                     CASE STATUS

04/08/2024 01:32                        04/08/2024 02:05                            YES                                          Case Completed
RELATED AGENCY                                                                      RELATED AGENCY NUMBER


ITEMS IN REPORT

☒ SUPPLEMENT                 ☒ PICTURE/IMAGE
☐ FOLLOW UP                  ☒ PROPERTY/EVIDENCE
CATEGORIES

☐ Alcohol Related            ☐ Traffic Related                      ☐ Drugs Involved                  ☐ Group Involved                  ☐ Weapon Involved
☐ Arrest Occured             ☐ Domestic Violence                    ☐ Senior Citizen

INV           NAME                               SUFFIX         RACE    ETHNICITY   SEX        GENDER    AGE      DOB             HT       WT           HAIR     EYE

RP                                                              W       H           M                    19
DRIVER'S LIC. NO.                                STUDENT ID                         CLASSIFICATION       TYPE                              SSN

                                                                                                         STUDENT NON-RESIDENT
PHONES

Cell Phone:

INV           NAME                               SUFFIX         RACE    ETHNICITY   SEX        GENDER    AGE      DOB             HT       WT           HAIR     EYE
ARR                                                             W       N           M                    21                       6.1      144          BRO      BRO
DRIVER'S LIC. NO.                                STUDENT ID                         CLASSIFICATION       TYPE                              SSN
                                                                                                         STUDENT NON-RESIDENT
EMAIL



ADDRESS TYPE          STREET NUMBER          STREET NAME               SUITE NUMBER            CITY                      STATE                    ZIP
Home
Home
PHONES

Cell Phone:
ARREST INFORMATION
LOCATION OF ARREST

One UTSA Circle, San Antonio, Texas 78249
CODE SECTION                            CRIME DESCRIPTION                                                       CLASSIFICATION
TPC 28.08                               Graffiti                                                                OFFENSE
TPC 38.04                               Evading Arrest                                                          OFFENSE
ARREST DATE                                             LEVEL                                                   ARRESTING OFFICER

04/08/2024                                              Misdemeanor                                             VAN METER, JOSHUA

NARRATIVE



On April 8th, 2024 at approximately 0132 hours, I assisted Officer Juarez #610 with a call for service regarding a
unknown male spray painting the south side of the McKinney Humanities Building (1 UTSA Circle San Antonio,
Texas 78249). The McKinney Humanities building is located on the University of Texas at San Antonio property.
The description provided was a white male wearing a grey hoodie with a face mask on. After parking and walking
toward the McKinney Humanities building, I observed a male, later identified as                , with a grey hoodie,
black backpack, face covering, and gloves actively spray painting the ground outside of the John Peace Library
REPORTING OFFICER                                       APPROVED BY                                             APPROVAL DATE AND TIME

VAN METER, JOSHUA                                       HOGAN, NORMA                                            04/18/2024 07:36

                                                                                    PRINT DATE AND TIME         PRINTED BY                                     PAGE NO.
                                                                                    07/18/2024 11:36            ERICA FUENTEZ                                     1 of 3
                   Case 1:24-cv-00523-RP University
                                          Document  of Texas at SanFiled
                                                          32-8      Antonio
                                                                          08/19/24 Page 17 of 63
                                                             Police Department

                                                         CRIMINAL CASE REPORT

                                                  One UTSA Circle San Antonio, TX 78249

            PHONE: 210-458-4242                              FAX: 210-458-7602                            police@utsa.edu
LOCATION OF OCCURRENCE / ADDRESS                                                                DATE / TIME REPORTED   CASE NO.
McKinney Humanities Building / FACING SOMBRILLA, ONE UTSA Circle                                04/08/2024 01:32       2024-00264
SAN ANTONIO, TX 78249, Bexar County


first floor food court. I called out D      ’s description and activated my body camera as I moved toward the
male. As I approached within talking distance with D           , he stopped spray painting the ground and looked at
me. I, in full law enforcement uniform, announced my presence and ordered him to stop spray painting. D
continued to look at me before talking off in a full sprint north towards the McKinney Humanities building. I
initiated a foot pursuit with D        and followed him north between the McKinney Humanities and Business
Building toward the Devine Parking Lot. As I chased D             , I continually announced myself while ordering him
to stop running. In an effort to get D         to cease running, I announced to possibility of less lethal options being
used against him if he continued. After continuing to run north past the buildings and then east along the Devine
parking lot, he stopped and stood in place. D            then complied as I ordered him to the ground while placing
his hands behind his back.

I placed handcuffs onto D          and ensured proper locking and tension. His backpack was removed from within
arms reach as he was arrested and inventoried by Officer Juarez. Corporal Gutierrez #603 and I assisted D
from the ground and I conducted a search incident to arrest of his person for contraband or weapons with
negative findings. I had D         sit on a nearby curb as I advised him of his Miranda Rights from my department
issued Rights of an Arrestee card. At around 0143 hours, D           stated he understood his rights. At this time,
D         did not divulge what he was spray painting on the ground outside of the university buildings, but he did
say he wanted to make a pro-Palestinian political statement and he believes that proper protests no longer work.
D         stated his motivations stem from the University not making a strong enough statement on the subject.
D         then explained he is a current student at UTSA and was not influenced by current stuff or faculty to make
the politically motivated statements. Officers Juarez and Gutierrez stayed with D         as I retrieved my nearby
patrol unit.

After arriving back to Devine parking lot, I placed D     in the rear passenger compartment of patrol unit 128
and secured him with a seatbelt. I ensured to check the rear passenger compartment of unit 128 at the start of
my shift for contraband or weapons with negative results. I provided my starting mileage and conducted the
transport to the UTSA Police Department building without issues. I then secured my primary and secondary
weapons in the trunk of my patrol unit and retrieved D        from the rear of the vehicle. D   was then
escorted inside of the UTSA police department building and secured inside of Temporary Detention Room 1.332
as I completed the necessary paperwork to process him into Bexar county Jail 9200 N Comal San Antonio, Texas
78207).

As I worked on the intake paperwork, Corporal Gutierrez returned to the McKinney Humanities building and took
pictures of the graffiti made by D    . Damages from the graffiti on University property estimate to
approximately $1000. Some of the graffitied statements include “FCK THE IDF (Israeli Defense Force), “30K




REPORTING OFFICER                              APPROVED BY                                  APPROVAL DATE AND TIME

VAN METER, JOSHUA                              HOGAN, NORMA                                 04/18/2024 07:36

                                                                      PRINT DATE AND TIME   PRINTED BY                            PAGE NO.
                                                                      07/18/2024 11:36      ERICA FUENTEZ                            2 of 3
                   Case 1:24-cv-00523-RP University
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                                                             Police Department

                                                         CRIMINAL CASE REPORT

                                                  One UTSA Circle San Antonio, TX 78249

            PHONE: 210-458-4242                              FAX: 210-458-7602                            police@utsa.edu
LOCATION OF OCCURRENCE / ADDRESS                                                                DATE / TIME REPORTED   CASE NO.
McKinney Humanities Building / FACING SOMBRILLA, ONE UTSA Circle                                04/08/2024 01:32       2024-00264
SAN ANTONIO, TX 78249, Bexar County


CIVS KILLED IN GAZA”, as well as the recreation of the Palestine flag over UTSA posters of students seeming to
be of Middle Eastern descent. Please refer to his supplement report for pictures and further information regarding
the graffiti.
Officer Juarez completed the addition of D       ’s property into evidence. Please refer to her supplement for
further information regarding evidence addition.

Due to the statements made from D            regarding his political stance as a supporter of Palestine, his actions to
further his political ideology against another group of people, and possessing personal property belonging to
political groups such as Antifascist Action (ANTIFA) and Democratic Socialists of America, a Title IX report will be
completed.

My department issued body camera was on and recording during encounter. The in-car camera system for patrol
unit 128 was on and recording during the transport of dolman to the UTSA Police Department building. The
footage has been downloaded to our secure server.




REPORTING OFFICER                              APPROVED BY                                  APPROVAL DATE AND TIME

VAN METER, JOSHUA                              HOGAN, NORMA                                 04/18/2024 07:36

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                                                                      07/18/2024 11:36      ERICA FUENTEZ                            3 of 3
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                                                          Supplement Case Report

                                                   One UTSA Circle San Antonio, TX 78249

               PHONE: 210-458-4242                           FAX: 210-458-7602                                       police@utsa.edu
                                                                                                          CASE NO.             SUPPPLEMENT NO.
                                                                                                          2024-00264           001
LOCATION OF OCCURRENCE / ADDRESS                                                                          CAD NO.              DATE / TIME REPORTED
McKinney Humanities Building/ FACING SOMBRILLA/ ONE UTSA Circle, San Antonio, TX 78249                    24-04-08-020593      04/08/2024 01:32

CODE SECTION                 CRIME DESCRIPTION                                           CLASSIFICATION
TPC 38.04                    Evading Arrest                                              OFFENSE
TPC 28.08                    Graffiti                                                    OFFENSE
NARRATIVE



This supplement is to cover the evidence pertaining to report number 2024-00264. On April 8, 2024 at
approximately 0130 hours we were dispatched to McKinney Humanities Building (MH) regarding a person spray
painting the outside of MH. Ofc. Van Meter was first on scene and located the subject spray painting and yelled at
him to stop and the subject ran. Cpl. Gutierrez and I started to run as well to try to intersect the subject. The
subject finally stopped and laid on the ground at the UTSA Bus Oval where Ofc. Van Meter then detained him.
Please see Ofc. Van Meter’s report for more information.

Evidence Items are the following:

2024-0402984: 1 Pair of black and green in color, gloves. Brand: Kebada.

2024-0402986:1 tan/brown neck gaiter.

2024-0402987: 4 different Pinback Buttons. 2 red in color YSDA (Young Democratic Socialists of America)
pinback buttons. 1 black button with "Antifascist Action" printed on it. 1 black button with a "KKK" member with a
red line across it.

2024-0402987: 9 spray paint cans in total. 2 full white paint cans, 2 full red paint cans, 2 full green paint cans, 2
full black paint cans and 1 near empty black paint can. Brand: Rust-Oleum.

Evidence was placed in Main Campus Temporary Evidence Locker #19 at approximately 0615 hours.

The system generated two of the same evidence property numbers for different evidence items. Evidence
custodians have been notified.




REPORTING OFFICER                    SUPPLEMENT DATE AND TIME REPORTED           REVIEWED BY                             APPROVAL DATE AND TIME
JUAREZ, KASSANDRA                    04/08/2024 03:30                            HOGAN, NORMA                            04/18/2024 07:41

                                                                     PRINT DATE AND TIME              PRINTED BY                            PAGE NO.

                                                                     07/18/2024 11:36                 ERICA FUENTEZ                            1 of 7
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                                                          Supplement Case Report

                                                   One UTSA Circle San Antonio, TX 78249

               PHONE: 210-458-4242                           FAX: 210-458-7602                                       police@utsa.edu
                                                                                                          CASE NO.             SUPPPLEMENT NO.
                                                                                                          2024-00264           002
LOCATION OF OCCURRENCE / ADDRESS                                                                          CAD NO.              DATE / TIME REPORTED
McKinney Humanities Building/ FACING SOMBRILLA/ ONE UTSA Circle, San Antonio, TX 78249                    24-04-08-020593      04/08/2024 01:32

CODE SECTION                 CRIME DESCRIPTION                                           CLASSIFICATION
TPC 38.04                    Evading Arrest                                              OFFENSE
TPC 28.08                    Graffiti                                                    OFFENSE
NARRATIVE



This supplement report will be covering the photos obtain from report number 2024-00264. On 08 April 2024, at
approximately 0130 hours officers were dispatched to the McKinney Humanities Building (MH Building) facing the
Sombrilla for a report of a subject spray painting on the building. Officer Van Meter was first on scene and
observed the suspect matching the description spray painting on a building pillar adjacent to the MH building. He
yelled at the suspect to stop and he ran. Officer Juarez and Corporal Gutierrez were next on scene and also gave
chase. The suspect stopped at the UTSA/VIA bus loop. Please see Officer Van Meters report for more
information regarding the case.

I went back to the MH building and the Sombrilla and took the attached photos. Please see the Photo Index
below.

My department issued body camera was active during the incident.

Photo Index:
2024-00264(1) - Overview of Graffiti Angle 1
2024-00264(2) - Overview of Graffiti Angle 2
2024-00264(3) - Overview of Graffiti Angle 3
2024-00264(4) - Overview of Graffiti Angle 4
2024-00264(5) - Graffiti 30K
2024-00264(6) - Graffiti FUK THE IDF
2024-00264(7) - Graffiti LYDDA
2024-00264(8) - Graffiti SABRA
2024-00264(9) - Graffiti Facing North
2024-00264(10) - Graffiti Facing South
2024-00264(11) - Graffiti Facing West
2024-00264(12) - MH Pillar 1
2024-00264(13) - MH Pillar 2
2024-00264(14) - MH Pillar 3
2024-00264(15) - MH Pillar 4
2024-00264(16) - MH Pillar 5
2024-00264(17) - MH Pillar 6
2024-00264(18) - MH Pillar 7
2024-00264(19) - MH Pillar 8

REPORTING OFFICER                    SUPPLEMENT DATE AND TIME REPORTED           REVIEWED BY                             APPROVAL DATE AND TIME

GUTIERREZ, MANUEL                    04/08/2024 03:51                            HOGAN, NORMA                            04/16/2024 15:28

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                                                          Supplement Case Report

                                                  One UTSA Circle San Antonio, TX 78249

            PHONE: 210-458-4242                              FAX: 210-458-7602                              police@utsa.edu
                                                                                                CASE NO.              SUPPPLEMENT NO.
                                                                                                2024-00264            002
LOCATION OF OCCURRENCE / ADDRESS                                                                CAD NO.               DATE / TIME REPORTED
McKinney Humanities Building/ FACING SOMBRILLA/ ONE UTSA Circle, San Antonio, TX 78249          24-04-08-020593       04/08/2024 01:32

2024-00264(20) - Overview of Graffiti to MH Pillars




REPORTING OFFICER                  SUPPLEMENT DATE AND TIME REPORTED             REVIEWED BY                    APPROVAL DATE AND TIME
GUTIERREZ, MANUEL                  04/08/2024 03:51                              HOGAN, NORMA                   04/16/2024 15:28

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                                                                     07/18/2024 11:36          ERICA FUENTEZ                          3 of 7
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                                                            Supplement Case Report

                                                      One UTSA Circle San Antonio, TX 78249

               PHONE: 210-458-4242                             FAX: 210-458-7602                                     police@utsa.edu
                                                                                                          CASE NO.             SUPPPLEMENT NO.
                                                                                                          2024-00264           003
LOCATION OF OCCURRENCE / ADDRESS                                                                          CAD NO.              DATE / TIME REPORTED
McKinney Humanities Building/ FACING SOMBRILLA/ ONE UTSA Circle, San Antonio, TX 78249                    24-04-08-020593      04/08/2024 01:32

CODE SECTION                 CRIME DESCRIPTION                                           CLASSIFICATION
TPC 38.04                    Evading Arrest                                              OFFENSE
TPC 28.08                    Graffiti                                                    OFFENSE
NARRATIVE



At approximately 0600 hours, I took D        from Temporary Detention room 1.332 and placed him in handcuffs.
I checked the handcuffs for proper locking and tension. I then escorted him to patrol unit 128 and placed him in
the rear passenger compartment for the transport to Bexar county Jail. I ensured to inspect the rear compartment
before placing him inside for contraband or weapons and had zero results. I gave the required vehicle information
to dispatch and began the transport to Bexar county Jail.

I arrived to the jail at around 0623 hours without incident. I then secured my primary and secondary weapons
inside the trunk of the patrol unit and retrieved D         from the patrol unit. I again inspected the rear passenger
compartment for contraband or weapons with negative findings. I escorted D                 inside of the facility and
transferred custody of him to the on-duty jailing staff. I then completed the necessary paperwork required to book
him into the jail.

While speaking with the on-duty Assistant District Attorney, they personally do not consider the events that
transpired as a hate crime. The events will be reviewed with possibility of filing the case differently.

At around 0726 hours, I left the jail and proceeded to the UTSA downtown campus. While there, I placed
D      ’s personal property in UTSAPD Personal Property locker A2 at around 0740 hours. From there, I
returned back to UTSA main campus without incident.

The UTSAPD Evidence and Property Custodian has been notified of D                                   ’s property into storage.

My department issued body camera was on and recording during the transport. The in-car cameras for patrol unit
128 were also on and recording. The footage has been downloaded to our secure server.




REPORTING OFFICER                       SUPPLEMENT DATE AND TIME REPORTED          REVIEWED BY                           APPROVAL DATE AND TIME

VAN METER, JOSHUA                       04/08/2024 08:57                           HOGAN, NORMA                          04/18/2024 07:40

                                                                      PRINT DATE AND TIME             PRINTED BY                            PAGE NO.
                                                                      07/18/2024 11:36                ERICA FUENTEZ                            4 of 7
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                                                            Supplement Case Report

                                                      One UTSA Circle San Antonio, TX 78249

               PHONE: 210-458-4242                             FAX: 210-458-7602                                     police@utsa.edu
                                                                                                          CASE NO.             SUPPPLEMENT NO.
                                                                                                          2024-00264           004
LOCATION OF OCCURRENCE / ADDRESS                                                                          CAD NO.              DATE / TIME REPORTED
McKinney Humanities Building/ FACING SOMBRILLA/ ONE UTSA Circle, San Antonio, TX 78249                    24-04-08-020593      04/08/2024 01:32

CODE SECTION                 CRIME DESCRIPTION                                           CLASSIFICATION
TPC 38.04                    Evading Arrest                                              OFFENSE
TPC 28.08                    Graffiti                                                    OFFENSE
NARRATIVE



On Monday, 08 April 2024 at approximately 0900 hours, I was advised of a error within the ARMS property where
it had issued a duplicate property number: 20240402987. A new property number was issued, 20240402988, and
the information from the original property number was transferred to the new number. A screen shot was added
to the new property number to show the error.




REPORTING OFFICER                       SUPPLEMENT DATE AND TIME REPORTED          REVIEWED BY                           APPROVAL DATE AND TIME
WEBER, ERIC B                           04/08/2024 09:29                           HOGAN, NORMA                          04/18/2024 07:36

                                                                      PRINT DATE AND TIME             PRINTED BY                            PAGE NO.

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                                                      One UTSA Circle San Antonio, TX 78249

               PHONE: 210-458-4242                             FAX: 210-458-7602                                     police@utsa.edu
                                                                                                          CASE NO.             SUPPPLEMENT NO.
                                                                                                          2024-00264           005
LOCATION OF OCCURRENCE / ADDRESS                                                                          CAD NO.              DATE / TIME REPORTED
McKinney Humanities Building/ FACING SOMBRILLA/ ONE UTSA Circle, San Antonio, TX 78249                    24-04-08-020593      04/08/2024 01:32

CODE SECTION                 CRIME DESCRIPTION                                           CLASSIFICATION
TPC 38.04                    Evading Arrest                                              OFFENSE
TPC 28.08                    Graffiti                                                    OFFENSE
NARRATIVE



On 16 April 2024 at 1354 hours, I called Fred Weidner with UTSA Facilities to obtain a cost for the clean up of the
graffiti. Weidner said he would get me a completed copy of the work order that would have the total dollar amount
for this case. Weidner further stated that he estimated the clean up to be $144.00 for his labor and further
explained that the product he used to clean the graffiti was $400.00 dollars for the kit, but he did not use all of it.

At 1404 hours, I messaged Lauren Beaver (Senior Director, Business Affairs Strategic Communications) to obtain
a cost for the 8 posters that were damaged. Beaver put me in contact with Brett Calvert (Senior Executive
Director of Marketing) and Joan Duncan (VP for University Relations). Duncan was able to provide a cost of
$5385.52 (see attached). The cost was a collaboration of the cost for each poster at $591.94 which totaled
$4,735.52 and the cost of labor to install them which was $650.00.

On 3 May 2024 at 1455, I spoke with Anne Jimenez (Student Conduct and Community Standards). Jimenez was
reaching out to the various departments that were requiring restitution because D     had decided to make
restitution for the damages. Jimenez advised she would keep me in the loop for the case file.

On 6 May 2024, I was copied on an email from Weidner and Duncan which contained their completed Deposit
Transmittal form which totaled their cost for clean up and replacement of the damage posters (see attached). The
total cost is $5562.02. The cost for the clean up totaled $176.50 which was a break down of $144.00 in labor and
$32.50 in materials. The cost to replace the posters was $5385.52 which was a break down of the posters and
labor to install them.




REPORTING OFFICER                       SUPPLEMENT DATE AND TIME REPORTED          REVIEWED BY                           APPROVAL DATE AND TIME

CRISWELL, JACOB                         06/06/2024 10:58                           HOGAN, NORMA                          06/21/2024 12:04

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                                                            Supplement Case Report

                                                      One UTSA Circle San Antonio, TX 78249

               PHONE: 210-458-4242                             FAX: 210-458-7602                                     police@utsa.edu
                                                                                                          CASE NO.             SUPPPLEMENT NO.
                                                                                                          2024-00264           006
LOCATION OF OCCURRENCE / ADDRESS                                                                          CAD NO.              DATE / TIME REPORTED
McKinney Humanities Building/ FACING SOMBRILLA/ ONE UTSA Circle, San Antonio, TX 78249                    24-04-08-020593      04/08/2024 01:32

CODE SECTION                 CRIME DESCRIPTION                                           CLASSIFICATION
TPC 38.04                    Evading Arrest                                              OFFENSE
TPC 28.08                    Graffiti                                                    OFFENSE
NARRATIVE



On 11 June 2024 at 0915 hours, I searched Bexar County Court Records to verify the Judicial Number for the
charge of Graffiti - Higher Education and found that the charge has been dismissed / Conviction other. I then
checked on the charge of Evading and found that it has been reset for July 24, 2024.

The charge of Graffiti is no longer pending and has been dismissed.




REPORTING OFFICER                       SUPPLEMENT DATE AND TIME REPORTED          REVIEWED BY                           APPROVAL DATE AND TIME
CRISWELL, JACOB                         06/11/2024 09:33                           HOGAN, NORMA                          06/21/2024 12:07

                                                                      PRINT DATE AND TIME             PRINTED BY                            PAGE NO.
                                                                      07/18/2024 11:36                ERICA FUENTEZ                            7 of 7
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                                                                           Property case report

                                                               One UTSA Circle San Antonio, TX 78249

                                                    PHONE: 210-458-4242 FAX: 210-458-7602 police@utsa.edu



               CASE #:2024-00264                                       INCIDENT #:                                                   OFFICER:VAN METER, JOSHUA

      DATE OF REPORT:04/08/2024                                            CRIME:OFFENSE Evading Arrest

               ITEM #:1                                          PROPERTY TYPE:CLOTHES/FURS                                PROPERTY STATUS:

           PROPERTY:20240402984                                         QUANTITY:1                                                     VALUE:0.00

                MAKE:                                                     MODEL:

               COLOR:

         DESCRIPTION:1 pair of black and green in color, gloves. Brand: Kebada.

               NOTES:Reviewed by CPL. Gutierrez#0603

             SERIAL #:                                                 STORED AT:EVIDENCE ROOM, BOS 1.334A                  RECOVERY VALUE:0.00

                 NCIC:                                               ENTERED ON:                                              RECOVERED ON:

     OWNER APPLIED #:                                               DISPOSED ON:                                                REVIEW DATE:04/09/2024

         DISPOSITION:

         DATE FOUND:04/08/2024

            LOCATION:On person's hands upon arrest.

   ASSOCIATED WITH:

                NAME:

            ADDRESS:

         HOME PHONE:

        WORK PHONE:


               CASE #:2024-00264                                       INCIDENT #:                                                   OFFICER:VAN METER, JOSHUA

      DATE OF REPORT:04/08/2024                                            CRIME:OFFENSE Evading Arrest

               ITEM #:2                                          PROPERTY TYPE:CLOTHES/FURS                                PROPERTY STATUS:

           PROPERTY:20240402986                                         QUANTITY:1                                                     VALUE:0.00

                MAKE:                                                     MODEL:

               COLOR:

         DESCRIPTION:1 tan/brown neck gaiter.

               NOTES:Reviewed by CPL. Gutierrez#0603

             SERIAL #:                                                 STORED AT:EVIDENCE ROOM, BOS 1.334A                  RECOVERY VALUE:0.00

                 NCIC:                                               ENTERED ON:                                              RECOVERED ON:

     OWNER APPLIED #:                                               DISPOSED ON:                                                REVIEW DATE:04/08/2024

         DISPOSITION:

         DATE FOUND:04/08/2024

            LOCATION:On the face of person upon arrest.

   ASSOCIATED WITH:

                NAME:

            ADDRESS:

         HOME PHONE:

        WORK PHONE:


               CASE #:2024-00264                                       INCIDENT #:                                                   OFFICER:VAN METER, JOSHUA

      DATE OF REPORT:04/08/2024                                            CRIME:OFFENSE Evading Arrest

               ITEM #:3                                          PROPERTY TYPE:ARTISTIC                                    PROPERTY STATUS:

                                                          SUPPLIES/ACCESSORIES
           PROPERTY:20240402987                                     QUANTITY:9                                                         VALUE:0.00

                MAKE:Spray Pain                                           MODEL:Rust-Oleum

               COLOR:

         DESCRIPTION:9 spray paint cans in total. 2 full white paint cans, 2 full red paint cans, 2 full green paint cans, 2 full black paint cans and 1 near empty black paint

can. Brand: Rust-Oleum.


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                           Case 1:24-cv-00523-RP University
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                                                                               Police Department

                                                                           Property case report

                                                               One UTSA Circle San Antonio, TX 78249

                                                    PHONE: 210-458-4242 FAX: 210-458-7602 police@utsa.edu
                NOTES:Reviewed by CPL. Gutierrez#0603

              SERIAL #:                                                STORED AT:EVIDENCE ROOM, BOS 1.334A                RECOVERY VALUE:0.00

                  NCIC:                                              ENTERED ON:                                            RECOVERED ON:

     OWNER APPLIED #:                                               DISPOSED ON:                                              REVIEW DATE:04/08/2024

          DISPOSITION:

          DATE FOUND:04/08/2024

             LOCATION:Inside black backpack upon arrest.

   ASSOCIATED WITH:

                 NAME:

             ADDRESS:

          HOME PHONE:

         WORK PHONE:


                CASE #:2024-00264                                      INCIDENT #:                                                 OFFICER:VAN METER, JOSHUA

      DATE OF REPORT:04/08/2024                                            CRIME:OFFENSE Evading Arrest

                ITEM #:4                                         PROPERTY TYPE:OTHER                                     PROPERTY STATUS:

            PROPERTY:20240402988                                        QUANTITY:4                                                   VALUE:0.00

                 MAKE:                                                    MODEL:

                COLOR:

          DESCRIPTION:4 different Pinback Buttons. 2 red in color YSDA (Young Democratic Socialists of America) pinback buttons. 1 black button with "Antifascist Action"

printed on it. 1 black button with a "KKK" member with a red line across it.
                NOTES:Reviewed by CPL. Gutierrez#0603 04/08/2024: Sgt. Weber - Added in new evidence item to have seperate number for evidence item. ARMS

system made a duplicate 20240402987 property number.
              SERIAL #:                                                STORED AT:EVIDENCE ROOM, BOS 1.334A                RECOVERY VALUE:0.00

                  NCIC:                                              ENTERED ON:                                            RECOVERED ON:

     OWNER APPLIED #:                                               DISPOSED ON:                                              REVIEW DATE:04/08/2024

          DISPOSITION:

          DATE FOUND:04/08/2024

             LOCATION:Inside black backpack upon arrest.

   ASSOCIATED WITH:

                 NAME:

             ADDRESS:

          HOME PHONE:

         WORK PHONE:


                CASE #:2024-00264                                      INCIDENT #:                                                 OFFICER:VAN METER, JOSHUA

      DATE OF REPORT:04/08/2024                                            CRIME:OFFENSE Evading Arrest

                ITEM #:5                                         PROPERTY TYPE:STRUCTURE/PUBLIC                          PROPERTY STATUS:

                                                          COMMUNITY
            PROPERTY:20240403012                                        QUANTITY:9                                                   VALUE:1000.00

                 MAKE:                                                    MODEL:

                COLOR:

          DESCRIPTION:Graffiti to 8 posters along south building pillars on Mckinney Humanities building. Graffitied statements also found on the flooring to the Sombrilla

nearby the John Peace Library first floor food court. Total cost of damages including labor for cleanup is estimated at approximately $1000.
                NOTES:

              SERIAL #:                                                STORED AT:                                         RECOVERY VALUE:0.00

                  NCIC:                                              ENTERED ON:                                            RECOVERED ON:

     OWNER APPLIED #:                                               DISPOSED ON:                                              REVIEW DATE:

          DISPOSITION:

          DATE FOUND:

             LOCATION:1 UTSA Blvd.



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                                                           Police Department

                                                          Property case report

                                                 One UTSA Circle San Antonio, TX 78249

                                       PHONE: 210-458-4242 FAX: 210-458-7602 police@utsa.edu
ASSOCIATED WITH:

            NAME:

         ADDRESS:

     HOME PHONE:

     WORK PHONE:

                              TOTAL ITEMS:   5




                                                                     PRINT DATE AND TIME   PRINTED BY      PAGE NO.
                                                                     07/18/2024 11:36      ERICA FUENTEZ      3 of 3
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 29 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Overview of Graffiti Angle 1

Notes
2024-00264(1)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                     1 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 30 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Overview of Graffiti Angle 2

Notes
2024-00264(2)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                     2 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 31 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Overview of Graffiti Angle 3

Notes
2024-00264(3)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                     3 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 32 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Overview of Graffiti Angle 4

Notes
2024-00264(4)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                     4 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 33 of 63
                                       University of Texas at San Antonio
                                              Police Department
                                                Case Log Photo
                                     One UTSA Circle San Antonio, TX 78249
               PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                           Case Number: 2024-00264




Description
Graffiti 30K

Notes
2024-00264(5)




                                                        PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                        07/18/2024 11:35      ERICA FUENTEZ                     5 of 20
                Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 34 of 63
                                     University of Texas at San Antonio
                                            Police Department
                                              Case Log Photo
                                   One UTSA Circle San Antonio, TX 78249
            PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                         Case Number: 2024-00264




Description
Graffiti FUK THE IDF

Notes
2024-00264(6)




                                                      PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                      07/18/2024 11:35      ERICA FUENTEZ                     6 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 35 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
            PHONE: 210-458-4242                    FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Graffiti LYDDA

Notes
2024-00264(7)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                     7 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 36 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
            PHONE: 210-458-4242                    FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Graffiti SABRA

Notes
2024-00264(8)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                     8 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 37 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Graffiti Facing North

Notes
2024-00264(9)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                     9 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 38 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Graffiti Facing South

Notes
2024-00264(10)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   10 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 39 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                   FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
Graffiti Facing West

Notes
2024-00264(11)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   11 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 40 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 1

Notes
2024-00264(12)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   12 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 41 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 2

Notes
2024-00264(13)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   13 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 42 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 3

Notes
2024-00264(14)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   14 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 43 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 4

Notes
2024-00264(15)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   15 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 44 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 5

Notes
2024-00264(16)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   16 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 45 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 6

Notes
2024-00264(17)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   17 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 46 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 7

Notes
2024-00264(18)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   18 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 47 of 63
                                      University of Texas at San Antonio
                                             Police Department
                                               Case Log Photo
                                    One UTSA Circle San Antonio, TX 78249
              PHONE: 210-458-4242                  FAX: 210-458-7602                      police@utsa.edu

                                          Case Number: 2024-00264




Description
MH Pillar 8

Notes
2024-00264(19)




                                                       PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                       07/18/2024 11:35      ERICA FUENTEZ                   19 of 20
                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 48 of 63
                                       University of Texas at San Antonio
                                              Police Department
                                                Case Log Photo
                                     One UTSA Circle San Antonio, TX 78249
             PHONE: 210-458-4242                    FAX: 210-458-7602                      police@utsa.edu

                                           Case Number: 2024-00264




Description
Overview of Graffiti to MH Pillars

Notes
2024-00264(20)




                                                        PRINT DATE AND TIME   PRINTED BY                     PAGE NO.
                                                        07/18/2024 11:35      ERICA FUENTEZ                   20 of 20
Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 49 of 63




                                   EXHIBIT C
       Behavioral Intervention Team Incident Report – February 1, 2024 Incident
              Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 50 of 63

                                   University of Texas at San Antonio
                          Behavioral Intervention Team Incident Reporting Form
                                 Submitted on February 1, 2024 at 3:25:47 pm CST
Nature                       Concerning Behavior
Urgency                      Normal
Incident Date and Time       2024-02-01 12:00 PM
Incident Location            Online/Electronic An Instagram story post

Reported by
Name:                        E
Title:
Email:
Phone
Address:
                             [Authenticated as

Person of Concern and any Involved Parties
E         (      )
Reporter of Concern                      Male

David L. ()
Person of Concern                         Male


Questions
Please provide a detailed description of the incident/concern using specific concise, objective language (Who, what,
where, when, why, and how).
The person of concern is a student enrolled at UTSA named David L. (while we have known each other for
some time, I do not know their last name). The incident occurred on Feburary 1st of 2024. Both I, the person
reporting the incident, and David, the person I am reporting about, follow each other on the social media
platform of Instagram. On Instagram, David reposted (also known as posted to story) an incredibly
antisemetic post that engaged in the following acts
1. Dog whistling via the use of the term "al-Aqsa flood"
2. Proclaiming the attack on October 7th was a defensive operation by Hamas
3. Denial of attacks and rape taking place against Israeli civilians
4. Denying the proven case of rape utilized by Hamas on October 7th
5. Claims Israelis committed a spontaneous action of false flag attacks to intentionally kill Israeli civilians on
October 7th
6. Outright claim October 7th was an action of liberation.
7. And more
I do not file this report as some sort of attempt to silence opposing views. I am a firm believer in free speech.
However, as someone who lost close friends on October 7th, who has seen video proof of Hamas executing
civilians, gang rape, and torture, seeing fellow students spreading antisemitic propaganda, whether they
realize it or not, creates a hostile environment not only Jewish students but survivors of sexual assault, with
the posting denying the experiences of rape victims.

Was Public Safety / Campus Police or another law enforcement agency involved or did they respond?
No

Are there any other offices or people who have information about this concern?
As of writing this report, I have consulted with no other persons in this matter.

If the person is potentially a harm to self or others, are you aware if the person has access to weapons?
I am unsure if this person is a danger to himself or others, and I am unaware if they have access to weapons.

Do one or more of the below categories accurately reflect your concern?
            Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 51 of 63

Threats of violence made (verbal, physical, written)

Attachments
screenshot20240201115225instagram.jpg
screenshot20240201115229instagram.jpg
screenshot20240201115232instagram.jpg
screenshot20240201120511instagram.jpg
screenshot20240201120514instagram.jpg
screenshot20240201120517instagram.jpg
screenshot20240201120520instagram.jpg
screenshot20240201120525instagram.jpg
screenshot20240201120527instagram.jpg
screenshot20240201120529instagram.jpg
screenshot20240201120535instagram.jpg
screenshot20240201120537instagram.jpg
screenshot20240201120548instagram.jpg



Pending IR #00014962
Submitted from 129.115.195.39. Processed by routing rule #18. Routed to Ryne Medina, BIT Team Manager.
Copies to: anne.jimenez@utsa.edu; thomas.calucci@utsa.edu; melissa.hernandez@utsa.edu; donna.edmondson@utsa.edu;
mary.mcnaughtoncassill@utsa.edu; LT.Robinson@utsa.edu; suzanne.patrick@utsa.edu; ashly.harris@utsa.edu;
amanda.swaney@utsa.edu; Jacob.criswell@utsa.edu; adrienne.rodriguez@utsa.edu; ashley.fitzgerald@utsa.edu;
carlos.martinez.cos@utsa.edu; stephanie.schoenborn@utsa.edu; veronica.salazar.VPBA@utsa.edu; rachel.gornitz@utsa.edu;
sandra.martinez@utsa.edu; angelia.lemmonds@utsa.edu; brittainy.jones@utsa.edu; natalee.marion@utsa.edu;
              Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 52 of 63

                                   University of Texas at San Antonio
                          Behavioral Intervention Team Incident Reporting Form
      Submitted on February 1, 2024 at 3:25:47 pm CST. Last modified February 5, 2024 at 9:12:40 am CST.
Nature                       Concerning Behavior
Urgency                      Normal
Incident Date and Time       2024-02-01 12:00 PM
Incident Location            Online/Electronic An Instagram story post

Reported by
Name:                        E
Title:
Email:
Phone
Address:

Person of Concern and any Involved Parties
David L. ()
Person of Concern                        Male


Questions
Please provide a detailed description of the incident/concern using specific concise, objective language (Who, what,
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The person of concern is a student enrolled at UTSA named David L. (while we have known each other for
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2. Proclaiming the attack on October 7th was a defensive operation by Hamas
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the posting denying the experiences of rape victims.

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I am unsure if this person is a danger to himself or others, and I am unaware if they have access to weapons.

Do one or more of the below categories accurately reflect your concern?
Threats of violence made (verbal, physical, written)


Attachments
                Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 53 of 63

   screenshot20240201115225instagram.jpg
   screenshot20240201115229instagram.jpg
   screenshot20240201115232instagram.jpg
   screenshot20240201120511instagram.jpg
   screenshot20240201120514instagram.jpg
   screenshot20240201120517instagram.jpg
   screenshot20240201120520instagram.jpg
   screenshot20240201120525instagram.jpg
   screenshot20240201120527instagram.jpg
   screenshot20240201120529instagram.jpg
   screenshot20240201120535instagram.jpg
   screenshot20240201120537instagram.jpg
   screenshot20240201120548instagram.jpg



Pending IR #00014962
Submitted from 129.115.195.39 and routed to Ryne Medina (BIT Team Manager)
Modified by Ryne Medina on February 5, 2024 at 9:12:40 am CST from 129.115.2.247
Copies originally to: anne.jimenez@utsa.edu; thomas.calucci@utsa.edu; melissa.hernandez@utsa.edu; donna.edmondson@utsa.edu;
mary.mcnaughtoncassill@utsa.edu; LT.Robinson@utsa.edu; suzanne.patrick@utsa.edu; ashly.harris@utsa.edu; amanda.swaney@utsa.edu;
Jacob.criswell@utsa.edu; adrienne.rodriguez@utsa.edu; ashley.fitzgerald@utsa.edu; carlos.martinez.cos@utsa.edu;
stephanie.schoenborn@utsa.edu; veronica.salazar.VPBA@utsa.edu; rachel.gornitz@utsa.edu; sandra.martinez@utsa.edu;
angelia.lemmonds@utsa.edu; brittainy.jones@utsa.edu; natalee.marion@utsa.edu;
Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 54 of 63




                                     EXHIBIT D
  HOP § 9.37 Peaceful Public Policy in effect between February 15, 2019 and June 7, 2024
Section 9.37, Peaceful Public Assembly Policy | Handbook of Operating Procedures | UTSA | The University of Texas at San Antonio
                                 Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 55 of 63
                                                                                                                                                    myUTSA        Search UTSA

                 The University of Texas at San Antonio




    Handbook of Operating Procedures

                                                                                                                                                          Handbook of Operating Procedures
       HOP                                                                                                                                                     Chapter 9 - General Provisions
                                                                                                                                                         Publication Date: February 15, 2019
 Chapter 1 – Administration
                                                                                                                                                            Responsible Executive: President
 Chapter 2 – Faculty and Academics                 9.37 Peaceful Public Assembly
 Chapter 3 – Staff                                 This is not the current policy. For the latest, click here.
                                                    I. Scope
 Chapter 4 – Personnel – General
                                                       This policy regulates peaceful public assembly on the campuses of The University of Texas at San Antonio (UTSA).
 Chapter 5 – Students
                                                    II. General Statement
 Chapter 6 – Committees
                                                       The freedoms of speech, expression, and assembly are fundamental rights of all persons and are central to the mission of the

 Chapter 7 – Athletics                                 university. Students, faculty, and staff, when not operating in their official capacity, have the right to assemble, to speak, and
                                                       the corresponding rights to hear the speech of others when they choose to listen, and to ignore the speech of others when
 Chapter 8 – Facilities and University                 they choose not to listen. The university is committed to these freedoms and has adopted the free speech policy statement
 Services
                                                       produced by the Committee on Freedom of Expression at the University of Chicago. A link to the university’s statement can be

 Chapter 9 – General Provisions                        found here: http://www.utsa.edu/president/campusandcommunity/cde/commitment.html

 » 9.01 – Nondiscrimination

 » 9.02 – Persons with Disabilities                    However, these activities are subject to the well-established right of colleges and universities to regulate time, place, and
                                                       manner so that the activities do not intrude upon or interfere with the academic programs, administrative processes or other
 » 9.03 – Handbook of Operating
 Procedures Amendment Approval                         authorized activities of the university. The university shall not discriminate on the basis of the political, religious, philosophical,
 Process                                               ideological, or academic viewpoint expressed by any person. Further, no expression or assembly may be conducted in a way
                                                       that damages or defaces property of the university or of any person who has not authorized the person engaging in expression
 » 9.04 – Consensual Relationships
                                                       or assembly to damage or deface his or her property.
 » 9.05 – Occupational Safety and Health
 » 9.06 – Ownership Transferred to                     University staff, faculty and students may peaceably assemble anywhere on the UTSA campuses that they are otherwise
 VPREDKE. Renumbered 10.18
                                                       permitted to be without advanced permission, as long as there is no disruption to other university activities. In keeping with the
 » 9.07 – Lost, Abandoned, and                         university's mission, any program or event sponsored by an academic or administrative unit of the university shall have priority
 Unclaimed Personal Property                           in the use of space and facilities over any speech, expression, and assembly that is not sponsored by an academic or

 » 9.08 – Texas Public Information Act                 administrative unit.

 » 9.09 – University Posting of Materials
                                                       No person, including a student or university employee, shall distribute any petition, handbill, object, or piece of literature; post
 » 9.10 – Solicitation on UTSA Campuses                or carry any sign, placard, or banner; or engage in speech or conduct on property or in buildings or facilities owned or
 » 9.11 – Reproduction of Copyright                    controlled by UTSA if it is obscene, unlawfully defamatory, or directed to inciting or producing imminent lawless action and is
 Materials                                             likely to incite or produce such action. Further, no person may attempt to coerce, intimidate, or badger any other person into
 » 9.12 – The Use of the University                    viewing, listening to, or accepting a copy of any communication or persist in demanding the attention of any other person after
 Name, Seal, Logo, and Athletic Emblem                 that other person has attempted to walk away or has clearly refused to attend to the speaker's communication. Persons or
 (Roadrunner)                                          organizations who are planning a public assembly with more than 50 participants are strongly encouraged to notify and consult
 » 9.13 – Minor Children on Campus                     with Events Management and Conference Services (EMCS) as soon as practicable after the point at which the planners
                                                       anticipate or plan for more than 50 participants. Persons or organizations planning smaller assemblies are encouraged to
 » 9.14 – Parking Violations
                                                       consult with EMCS if there is uncertainty about applicable university rules, the appropriateness of the planned location, or
 » 9.15 – Campus Closure Due to
                                                       possible conflict with other events. EMCS has experience in helping student organizations structure events in ways that both
 Weather or Safety Considerations
                                                       comply with the university's rules and achieve the organization's goals for the event. EMCS can help identify appropriate space
 » 9.16 – Use of Alcoholic Beverages                   and potentially conflicting events, as well as help the planners avoid unintended disruption or other violations.
 » 9.18 – Drugs and Alcohol
 9.19 – Administration of the Student                  Other generally applicable or narrowly localized rules, written and unwritten, incidentally limit the time, place, and manner of
 Deposit Endowment Fund (Deleted                       speech, but are too numerous to compile or cross-reference in this policy. For example, libraries typically have highly restrictive
 Effective May 17, 2022)                               rules concerning noise; fire and safety codes prohibit the obstruction of exits and limit the constriction of hallways; classroom
 » 9.20 – Guidelines for Managing                      speech may be confined to the subject matter of the class; and individual professors may have rules of decorum in their



https://www.utsa.edu/hop/chapter9/9-37_02-15-2019.html[8/15/2024 5:31:10 PM]
Section 9.37, Peaceful Public Assembly Policy | Handbook of Operating Procedures | UTSA | The University of Texas at San Antonio
                                  Case 1:24-cv-00523-RP Document 32-8 Filed 08/19/24 Page 56 of 63
 Endowments                                            classroom. Such rules must be viewpoint neutral and should not restrict speech more than is reasonably necessary to serve
 » 9.21 – Records and Information                      their purpose.
 Management and Retention
                                                   III. Disruption
 » 9.22 – Acquired Immune Deficiency
                                                        A. Except as expressly authorized elsewhere in this policy, no speech, expression, or assembly may be conducted in a way
 Syndrome, Human Immunodeficiency
                                                           that disrupts or interferes with any
 Virus Infection and Hepatitis B Virus
                                                             1. teaching, research, administration, or other authorized activities on any UTSA campus;
 » 9.23 – Procedures Governing Private
 Gift Solicitation, Acceptance, and                          2. free and unimpeded flow of pedestrian and vehicular traffic on any UTSA campus; or
 Management                                                  3. signs, tables, exhibits, public assemblies, distribution of literature, guest speakers, or use of amplified sound by

 » 9.24 – Sexual Harassment and Sexual                          another person or organization acting under the rules in this policy.
 Misconduct
                                                        B. The term "disruption" and its variants, as used in this policy, are distinct from and broader than the phrase "disruptive
 » 9.25 – Renumbered to 10.16 February,
                                                           activities," as used in the Rules and Regulations of The University of Texas System Board of Regents (Series 30103 and
 2020
 » 9.26 – Historically Underutilized                       Series 40502). This policy is concerned not only with deliberate disruption, but also with scheduling and coordinating
 Business Initiative                                       events to manage or minimize the inevitable conflicts between legitimate events conducted in close proximity.

 » 9.27 – Guidelines for Internal Audit                 C. Potentially disruptive events can often proceed without disruption if participants, administrators, and law enforcement
 Committee                                                 officials cooperate to avoid disruption without stopping the event. In cases of marginal or unintentional disruption,

 » 9.29 – Naming of Buildings and                          administrators and law enforcement officials should clearly state what they consider disruptive and seek voluntary
 Facilities                                                compliance before stopping the event or resorting to disciplinary charges or arrest.

 » 9.30 – Drug and Alcohol Testing
 (Certain Holders of Commercial Drivers'
 Licenses)                                         IV. Prohibited Items or Actions
                                                        A. A mask, facial covering, or disguise that conceals the identity of the wearer that is calculated to obstruct the enforcement
 » 9.31 – State Employment and
 Selective Service Registration                            of these rules or the law, or to intimidate, hinder or interrupt a University official, UTSA PD officer, or other person in the
                                                           lawful performance of their duty.
 » 9.33 – Collections Management Policy
 for the Center for Archaeological                      B. The possession, use, or display of firearms, facsimile firearms, ammunition, explosives, or other items that could be used
 Research                                                  as weapons, including but not limited to sticks, poles, clubs, swords, shields, or rigid signs that can be used as a shield,
 » 9.34 – Repatriation Policy for the                      without written permission from the dean of students, unless authorized by federal, State or local laws.
 Center for Archaeological Research                     C. Body-armor or make shift body-armor, helmets and other garments, such as sporting protective gear, that alone or in
 » 9.35 – Confidentiality of Social Security               combination could be reasonably construed as weapons or body-armor, without written permission from the dean of
 Numbers (Rules of Conduct)
                                                           students.
 (Consolidated to
                                                        D. Open flame, unless approved in advance by The University of Texas at San Antonio Fire Marshal.
 11.08
 , effective August 2, 2022)                        V. Amplified Sound
 » 9.36 – Tobacco Free and Smoke Free                  University organizations may use amplified sound (i.e., when sound volume is increased by any electric, electronic, mechanical,
 Campus
                                                       or motor-powered means) on any UTSA campus at designated times and locations, subject to the rules in this policy and other
 » 9.37 – Peaceful Public Assembly                     applicable laws and university policies. Advanced permission is required (see Section B. for details). However, any event or
 » 9.38 – Guidelines for Service Centers               activity determined to be disruptive to any authorized university activity may be stopped or modified, notwithstanding the
 and Institutes                                        amplified sound provisions listed herein.
 » 9.39 – Red Flag Rules Compliance for                 A. Location of Amplified Sound Areas
 Identity Theft Detection                                    1. Sombrilla: Main Campus University persons and organizations may use microphones for amplified speech. Acoustic,
 » 9.40 – Compliance Training                                   non-amplified music is also allowed. Amplified music is permissible during university sponsored events, such as
 » 9.41 – Affiliated Organizations                              Homecoming Week, Roadrunner Days, Fiesta Under the Stars, Best Fest, and Fiesta UTSA.

 » 9.42 – Auxiliary Enterprises                              2. University Center (UC): Main Campus Amplified speech/music may be approved under circumstances deemed by the
                                                                University Center director to not be disruptive to other authorized activities occurring in and around the facility.
 » 9.43 – Sustainability
                                                                University persons and organizations may request to use amplified sound on a form provided by EMCS.
 » 9.45 – Assessment of Administrative,
 Academic and Student Services                               3. East Convocation Lawn: Main Campus University persons and organizations may use microphones for amplified speech
                                                                and amplified music.
 » 9.46 – Travel Policy
                                                             4. Bill Miller Plaza: Downtown Campus University persons and organizations may use microphones for amplified speech
 » 9.47 – Use of Residential Conference
                                                                and amplified music.
 Centers
                                                             5. The Vice President for Student Affairs (VPSA) may designate additional areas for use of amplified sound. If the VPSA
 » 9.48 – Carrying of Concealed
                                                                concludes that it is unworkable to schedule two or more simultaneous events using amplified sound in different spaces
 Handguns on Campus
                                                                at the same campus, the vice president may refuse to schedule simultaneous events in those areas.
 » 9.49 – Cellular Phones and Services

 » 9.50 - Major Events Hosted by Non-                   B. Regulating and Scheduling of Amplified Sound
 University Users



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                                                             1. The VPSA may prescribe content neutral rules concerning scheduling, sound levels, the location of speakers and
 » 9.51 - Youth Protection Program                              direction in which they are pointed, and other rules to facilitate the use of amplified sound areas, to mediate any

 » 9.52 - Prohibition of Camping on                             conflict with university functions and other nearby activities, and to manage environmental impact.
 University Property                                         2. Organizations wishing to use an amplified sound area must reserve a particular area for a particular time. Reservations
                                                                must be made with EMCS on a form prescribed by that office.
                                                                EMCS shall make a reasonable effort to advise each applicant how to correct, if possible, any conditions that preclude
 Chapter 10 – Research
                                                                approval of its application. Even if an applicant is entitled to have its application approved as submitted, EMCS may
 Chapter 11 – Information                                       give advice about other possible locations, or about modifications to the proposed event, that would avoid potential
 Technology                                                     problems or make the proposed event more workable.

 Policy Process                                                 The VPSA shall approve a properly completed form to reserve an amplified sound area, unless the application must be

 Search HOP                                                     disapproved under the below listed criteria (B.2.a.) or under rules established by the VPSA under the authority of this
                                  Search                        policy.


 Search HOP By Responsible                                       a. Space requests for the use of amplified sound or for exhibits will be denied if any of the following criteria apply:
 Executive                                                          i. The proposed use of the space would violate the Regents' Rules and Regulations, university or UT System policy;
  Click
  Click to to  Select
           Select
                                                                    ii. Another event or exhibit has been scheduled for the proposed time and location, or in sufficiently close proximity
                                                                    that there is a practical conflict;

                                                                    iii. The space requested is inadequate to accommodate the proposed use;

                                                                    iv. The proposed use of the space would violate reasonable and nondiscriminatory fire, health, or safety standards;

                                                                    v. The proposed use of the space would constitute an immediate and actual danger to students, faculty members,
                                                                    or staff members or to the peace or security of the university that available law enforcement officials could not
                                                                    control with reasonable effort;

                                                                    vi. The requesting person/organization is under a disciplinary penalty prohibiting reserving the use of a university
                                                                    space, or prohibiting the proposed use of the space; or

                                                                    vii. The requesting person/organization owes a monetary debt to the university and the debt is considered
                                                                    delinquent.

                                                                 b. The VPSA may limit the number or frequency of reservations for each person or organization to ensure reasonable
                                                                    access for all persons and organizations desiring to use amplified sound.
                                                                 c. The VPSA may reserve some time slots each week for emergency reservations by persons or organizations
                                                                    responding to events that have occurred, or issues that have arisen since the preceding week.

                                                             3. Organizations using amplified sound are responsible for maintaining a passageway for pedestrians that is adequate to
                                                                the volume of pedestrian traffic passing through the area.
                                                             4. Any designations of additional areas, any additional rules regulating the designated areas, and the rules and
                                                                procedures for reserving the right to use a designated area, shall be stated on a website, flyer, or pamphlet available
                                                                at the EMCS Office.



                                                        C. Amplified Sound Indoors/Use of University Buildings
                                                           Amplified sound sufficient to be heard throughout the room may be used in any room in any building, but the VPSA may
                                                           limit or prohibit sound that would be disruptive outside the room. Reservations are required. Rules concerning reservations
                                                           and general use of university buildings may be found in Chapter 8 (Facilities and University Services) of the UTSA
                                                           Handbook of Operating Procedures.

                                                   VI. Guest Speakers
                                                       Registered student, faculty, and staff organizations and academic and administrative units may present guest speakers (i.e.,
                                                       speakers or performers who are not students, faculty members, or staff members) on university property. In the case of
                                                       registered student organizations, advanced permission from EMCS is required. Individuals may not present a guest speaker.

                                                        A. Location and Form of Presentation
                                                             1. A guest speaker may present a speech or performance, or lead a discussion of specified duration, at a time announced
                                                                in advance, in a fixed indoor location reserved through EMCS. A guest speaker may distribute literature only
                                                                immediately before, during, and immediately after the normal course of his or her speech, presentation, or




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                                                                performance, and only to persons in attendance. Only literature that complies with Section VIII of this policy may be
                                                                distributed.
                                                             2. A guest speaker may not:
                                                                 a. acost potential listeners who have not chosen to attend the speech, performance, or discussion; or
                                                                 b. distribute literature to persons who have not chosen to attend the speech, performance, or discussion; or
                                                                 c. help staff a table or exhibit.

                                                        B. Scheduling Guest Speakers
                                                             1. A registered student organization that wishes to present a guest speaker shall submit to EMCS, a completed form
                                                                prescribed by the VPSA, at least five (5) business days prior to the event.
                                                             2. The VPSA or designee shall approve an application properly made under subsection 1. unless it must be disapproved
                                                                under the criteria in IV.B.2.a.

                                                        C. Obligations of Presenting Organization
                                                           A student, faculty, or staff organization that presents a guest speaker must make clear that:

                                                             1. the organization, and not the university, invited the speaker; and
                                                             2. the views expressed by the speaker are his or her own and do not necessarily represent the views of the university,
                                                                the University of Texas System, or any institution of the System.

                                                        D. No off-campus speaker who is to be paid from State funds as consideration for his or her speech shall be permitted to
                                                           speak on any of the university's campuses unless the university facility in which the speech is to be delivered will be open
                                                           to the public, including members of the news media, who will be entitled to record, videotape, or telecast live portions of
                                                           the speech. This does not apply to classes, seminars, symposia, and conferences intended for the use and benefit of
                                                           students, faculty, staff, and invited guests. No person may in any way obstruct or lessen in any way the opportunity for the
                                                           audience to take the fullest advantage of the speech, including the opportunity to see and hear the speaker during the
                                                           entire speech.
                                                        E. All activities held on university property and sponsored by staff, student or faculty organizations are open to the university
                                                           community only.

                                                  VII. Signs
                                                        A. Students, faculty, and staff may display a sign on campus by holding or carrying it by hand or otherwise attaching it to
                                                           their person. No advanced permission is required. Signs on sticks or poles or otherwise attached to any device are
                                                           prohibited.
                                                             1. Any person holding or carrying a sign shall exercise due care to avoid bumping, hitting, or injuring any other person.
                                                             2. Any person holding or carrying a sign at a speech, performance, or other event shall exercise due care to avoid
                                                                blocking the view of any other person observing the speech, performance, or event. Depending on the venue, this may
                                                                mean that signs may be displayed only around the perimeter of a room or an audience.
                                                             3. Hand-held signs constructed of materials that create a hazard to other people are not permitted. Signs constructed of
                                                                rigid materials, including sticks, poles, wood, metal, hard plastic, or other materials that could be construed as a
                                                                hazard are not permitted.
                                                             4. A law enforcement officer or the dean of students, or an usher or other University employee if authorized by officials
                                                                responsible for managing the venue, may warn any person that his or her sign is being handled in violation of
                                                                subsections HOP 9.37 VII.A. If the violation persists after a clear warning, the law enforcement officer, dean of
                                                                students, authorized usher, or other authorized employee may confiscate the sign. A law enforcement officer may take
                                                                any action necessary to keep the peace, including but not limited to, issuing a criminal trespass warning to the violator.

                                                        B. Except as provided for herein or in the UTSA Handbook of Operating Procedures, nothing may be written or posted on any
                                                           building, statute, fountain, walkway surface, road surface, tree, or natural feature of the campus.
                                                        C. General policies related to posting signage/displaying banners may be found in the UTSA Handbook for Operating
                                                           Procedures (Policy 9.09).

                                                 VIII. Distribution of Literature
                                                        A. General Rule on Distribution of Literature
                                                             1. Subject to the Regents' Rules and Regulations and university policies, including those regarding co-sponsorships,
                                                                solicitation and prohibited expression, registered student, faculty, and staff organizations, and academic and




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                                                                administrative units, may sell, distribute, or display literature on campus. Individual students, faculty members, and
                                                                staff members may distribute or display literature, but may not sell it. In either case, no advanced permission is
                                                                required.
                                                             2. "Literature" means any printed material, including any newspaper, magazine, or other publication, and any leaflet,
                                                                flyer, or other informal matter, that is produced in multiple copies for distribution to potential readers.

                                                        B. Not-for-Profit Literature Only
                                                             1. Except as expressly authorized by Section VIII.B.2., or by contract with the university, no person or organization may
                                                                sell, distribute, or display on campus any publication operated for profit. A registered student, faculty, or staff
                                                                organization may sell publications operated for profit as part of a fund-raiser authorized by, and subject to the limits of
                                                                university solicitation policies.
                                                             2. Newspapers, magazines, or other publications may be distributed, or offered for sale by means of an unattended rack
                                                                or vending machine in area(s) designated in advance by the president of the university or his or her delegate for the
                                                                direction of such activity.
                                                             3. A publication is operated for profit if any part of the net earnings of the publication, or of its distribution, benefits any
                                                                private shareholder or individual.

                                                        C. Limits on Advertising
                                                             1. Literature distributed on campus may contain the following advertising:
                                                                 a. Advertising for a registered student, faculty, or staff organization, or an academic or administrative unit;
                                                                 b. Advertising for an organization that is tax exempt under Section 501(c) (3) of the Internal Revenue Code;
                                                                 c. Paid advertising in a publication primarily devoted to promoting the views of a not-for-profit organization or to
                                                                    other bona fide editorial content distinct from the paid advertising; and
                                                                 d. Other advertising expressly authorized by the Rules and Regulations of the Board of Regents (Series 80103) or by
                                                                    contract with the university.

                                                             2. All other advertising in literature distributed on any UTSA campus is prohibited.

                                                        D. Clean Up of Abandoned Literature
                                                           Any person or organization distributing literature on any UTSA campus shall pick up all copies dropped on the ground in the
                                                           area where the literature was distributed.



                                                   IX. Joint Sponsorship
                                                        A. No registered student, faculty, or staff organizations; or individual students, faculty, or staff, may jointly sponsor any event
                                                           on campus with an off-campus person or organization. Only academic or administrative units with authority delegated from
                                                           the president of the university may jointly sponsor events with an off-campus person or organization. All joint sponsorships
                                                           must be consistent with Series 80105 of the Rules and Regulations of the Board of Regents.
                                                        B. An event is a prohibited joint sponsorship if an individual or a student, faculty, or staff organization:
                                                             1. Relies on an off-campus person or organization for planning, staffing, advertising or managing the event; or
                                                             2. Advertises the event as jointly sponsored by an off-campus person or organization; or
                                                             3. Operates the event as an agent of, or for the material benefit of, an off-campus person or organization, except for
                                                                solicitation of charitable contributions in accordance with applicable university policies; or
                                                             4. Distributes any proceeds of the event to an off-campus person or organization, except for:
                                                                 a. The proceeds of charitable contributions solicited in accordance with applicable university policies; or
                                                                 b. Payment of a fair market price for goods or services provided to the university person or organization; or

                                                             5. Reserves a room or space for the use of an off-campus person or organization.

                                                        C. The following facts do not, in and of themselves, indicate a prohibited joint sponsorship:
                                                             1. That a university person or organization endorses an off-campus person or organization or its message;
                                                             2. That a university person or organization sells, distributes, or displays literature prepared by an off-campus person or
                                                                organization or containing contact information for an off-campus person or organization;
                                                             3. That a university person or organization has purchased goods or services from an off-campus provider;
                                                             4. That a registered student, faculty, or staff organization has invited a guest speaker under Section V;
                                                             5. That a registered student, faculty, or staff organization has received financial contributions to support the event from




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                                                                  an off-campus donor.

                                                        D. The purpose of this rule is to preserve the limited space on campus for the use of students, faculty members, and staff
                                                           members, and the rule will be interpreted to serve that purpose.



                                                    X. Tables
                                                       University persons or organizations may set up tables from which to display literature and disseminate information and
                                                       opinions, subject to the rules of this policy and other applicable university rules and regulations. No advanced permission is
                                                       required.

                                                        A. Locations
                                                             1. Subject to the restrictions in paragraph 2. and subject to the rules on disruption of other functions and interference
                                                                  with vehicular and pedestrian traffic, university persons and organizations may set up tables in any outdoor location on
                                                                  the campus and in any large, open, indoor location.
                                                             2. Tables may not be set up inside any library, classroom, laboratory, performance hall, stadium, or office, or in any
                                                                  hallway less than ten feet wide, without permission from the academic or administrative unit that controls the space, or
                                                                  from the faculty member or staff member who controls the space at a particular time.
                                                             3. An academic or administrative unit may further specify these rules by restricting tables to reasonable locations in
                                                                  spaces occupied by that unit. Academic and administrative units are encouraged to clearly state any such rules in
                                                                  writing, and to publish those rules on a website or on a flyer or pamphlet conveniently available at the chief
                                                                  administrative office of the unit.
                                                             4. If any table is set up in a prohibited or disruptive location, any university employee pointing out the violation shall also
                                                                  point out other locations, as nearby as is reasonably possible, where the table is permitted.

                                                        B. Identification
                                                           Each table must have a sign or literature that identifies the university person or organization sponsoring the table.

                                                        C. Cleanup around Tables
                                                           Any person or organization sponsoring a table shall remove litter from the area around the table at the end of each day.

                                                        D. Sources of Tables
                                                           Persons and organizations may supply their own tables. In addition, the University Center Information Desk maintains a
                                                           supply of tables that may be reserved and checked out for use on campus. The EMCS shall maintain, on a website or on a
                                                           flyer or pamphlet conveniently available at the EMCS Office, a current description of the rules and procedures for reserving
                                                           and checking out tables.

                                                   XI. Exhibits
                                                       University organizations may erect exhibits (i.e., an object or collection of related objects, designed to stand on the ground or
                                                       on a raised surface, which is not a table, is designed for temporary display, and is not permanently attached to the ground)
                                                       that are not inconsistent with applicable university policies. Advanced permission is required from EMCS, except that an
                                                       academic or administrative unit may authorize indoor exhibits in a space that it occupies and controls. Exhibits may not be
                                                       erected in areas that would impede vehicle or pedestrian traffic or otherwise adversely impact any authorized activity.

                                                        A. Authorization Process
                                                           An organization desiring to erect an exhibit shall apply on a form prescribed by EMCS.

                                                        B. Criteria for Approval
                                                             1. The VPSA shall authorize an exhibit described in a properly completed application unless the vice president or his or
                                                                  her designee finds that use of the proposed space for the proposed exhibit must be disapproved under the criteria
                                                                  listed in Section V.B.2.a.
                                                             2. An exhibit may not be left unattended by the organization requesting it unless prior arrangements are made to pay for
                                                                  police protection in their absence pursuant to XI.C.2.
                                                             3. If approved pursuant to Section XI.B.1., the EMCS Office, in consultation with UTSA police and other appropriate
                                                                  offices, shall specify the location of each exhibit to reduce the hazard to pedestrians, including those who are visually
                                                                  impaired.
                                                             4. If the application is denied, the applicant may choose to consult with the EMCS Office regarding how to correct, if
                                                                  possible, any conditions that preclude approval of his or her application. Even if an application may be approved as
                                                                  submitted, the VPSA or the EMCS Office staff may provide guidance about other possible locations, or about



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                                                                modifications to the exhibit, that would avoid potential problems or make the proposed exhibit more workable.

                                                        C. Time Limits
                                                             1. In locations administered by the VPSA, each exhibit may be displayed for five (5) business days. The exhibit may be
                                                                renewed for an additional five (5) business days if space is available.
                                                             2. The exhibit must be removed at the end of each day and may be re-erected each morning. However, the VPSA may
                                                                authorize overnight exhibits in designated locations, provided that the requesting entity agrees to pay for police
                                                                protection.

                                                        D. Clean Up Around Exhibits
                                                           Any organization sponsoring an exhibit shall remove litter from the area around the exhibit at the end of each day.

                                                        E. Liability
                                                           Any organization sponsoring an exhibit assumes full responsibility for the exhibit, including all injuries or hazards that may
                                                           arise from the exhibit. The university shall not be liable for any damage that may occur to the exhibit, and any organization
                                                           sponsoring the exhibit shall indemnify the university for any claims arising from the exhibit's presence on campus.

                                                  XII. Responding to Speech, Expression, and Assembly
                                                       University persons and organizations may respond to the speech, expression, or assembly of others, subject to all the rules in
                                                       this policy. Responding to another's expression is simply another form of expression, and all applicable rules herein, including
                                                       rules regarding advanced permission or reservations, such as those related to banners, exhibits and amplified sound, must be
                                                       followed. When feasible, the EMCS Office will make reasonable efforts to expedite approval of banners, exhibits and amplified
                                                       sound.

                                                 XIII. Solicitation
                                                       No person shall make, distribute, or display on any UTSA campus any statement that offers or advertises any product or service
                                                       for sale or lease, or requests any gift or contribution, except as authorized by the Rules and Regulations of the Board of
                                                       Regents (Series 80103).

                                                  XIV. Police Patrol
                                                        A. The normal patrolling of officers during regular duty areas that include speakers, public assemblies, persons staffing or
                                                           viewing exhibits will be at the cost of the university. When the magnitude, timing, or nature of an event requires additional
                                                           hours from police officers (including contract hours for officers hired from other departments or private security agencies),
                                                           the university will, to the extent specified in subsections B. and C. below, charge the cost of additional or contract officers
                                                           to the person or organization sponsoring the event or exhibit that requires additional police protection. The purpose of
                                                           subsections B. and C. is to charge for additional police presence where reasonably possible, but not to charge for additional
                                                           police made necessary by the content of speech at the event.
                                                        B. A reasonable and nondiscriminatory fee for the additional police work will be charged for events that require additional
                                                           police presence, and
                                                             1. charge a price for admission, or
                                                             2. pay a speaker, band, or other off-campus person or organization for services at the event.

                                                           Persons or organizations planning such events should budget for the cost of police presence.

                                                        C. The university shall have the sole power to decide, after reasonable consultation with the person or organization planning
                                                           the event, whether and to what extent overtime police presence is required. All fees shall be based on the number of
                                                           officers required for an event of the same size and kind, in the same place and at the same time of day. No fee shall be
                                                           charged for officers assigned because of political, religious, philosophical, ideological, or academic controversy anticipated
                                                           or actually experienced at the event.

                                                  XV. Response to Violations
                                                        A. A student who violates a prohibition in this policy may be disciplined under the procedures in the Student Code of Conduct.
                                                        B. A faculty member who violates a prohibition in this policy may be disciplined under applicable procedures provided by other
                                                           rules. If no such procedures exist, violations by faculty members shall be referred to the Office of the Provost and Vice
                                                           President for Academic Affairs.
                                                        C. A staff member who violates a prohibition in this policy may be disciplined under applicable procedures provided by other
                                                           rules. If no such procedures exist, violations by staff members shall be referred to the Human Resources Department.
                                                        D. Authorized university personnel may prevent imminently threatened violations, or end ongoing violations of a prohibition in




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                                                           this policy, by explanation and persuasion, by reasonable physical intervention, by arrest of violators, or by any other lawful
                                                           measures. Alternatively or additionally, they may initiate disciplinary proceedings under paragraph A., B., or C. Discretion
                                                           regarding the means and necessity of enforcement shall be vested in the Chief of Police, or in university personnel
                                                           designated by the president, as appropriate, but such discretion shall be exercised without regard to the viewpoint of any
                                                           speaker.
                                                        E. Persons and organizations on UTSA campuses shall comply with instructions from university administrators and law
                                                           enforcement officials at the scene. A person or organization that complies with an on-the-scene order limiting speech,
                                                           expression, or assembly may test the propriety of that order in an appeal under Section XV-Appeals.

                                                  XVI. Appeals
                                                        A. A person or organization that is denied permission for an activity requiring advanced permission under this policy may
                                                           appeal the denial of permission.
                                                        B. A person or organization that complies with an on-the-scene order limiting speech, expression, or assembly may, on or
                                                           before the fifth weekday after complying with the order, file an appeal to determine the propriety of the order limiting the
                                                           speech, expression, or assembly. The question on appeal shall be whether, under the circumstances as they reasonably
                                                           appeared at the time of the order, the appellant's speech, expression, or assembly should have been permitted to
                                                           continue. Such an appeal may be useful to clarify the meaning of a rule, or to resolve a factual dispute that may recur if
                                                           the appellant desires to resume the speech, expression, or assembly that was limited by the order.
                                                        C. Any person or organization aggrieved by a decision under this policy is entitled to appeal to the VPSA by providing a
                                                           written appeal to the dean of students on or before the fifth weekday after the day the decision is announced. The written
                                                           appeal shall contain the person's/organization's name and mailing address, a description of the decision complained of, the
                                                           organization's reasons for disagreeing with the decision, and the date the decision was announced.
                                                        D. When a timely appeal is received, the dean of students shall prepare and send to the VPSA a copy of the written statement
                                                           of the reason given for the denial of permission/on-the-scene order in question. The vice president shall review both the
                                                           written appeal and the written statement of the reason(s) for the decision in question. The vice president may render a
                                                           decision based on the documents provided, or, at his/her discretion, provide the person/organization with an opportunity
                                                           for a face-to-face meeting at which both the aggrieved party and the person making the decision are present. The decision
                                                           of the vice president concludes the appellate process.

                                                 XVII. Definitions
                                                       The following definitions are used for the purpose of this policy.

                                                        A. "Academic or administrative unit" means any office or department of the university.
                                                        B. "Faculty member and staff member" includes any person who is employed by the university, including student employees.
                                                        C. "Off-campus person or organization" means any person, organization, or business that is not an academic unit, an
                                                           administrative unit, a registered organization (student, faculty, staff), or a student, faculty member, or staff member.
                                                        D. "University person or organization" includes academic and administrative units; registered student, faculty, and staff
                                                           organizations; and individual students, faculty members, staff members, and other agents of the university serving in an
                                                           official capacity.
                                                        E. "Registered student, faculty, or staff organization" includes a registered student organization under the Student
                                                           Organization Relationship Statement, a faculty or staff organization under the Rules and Regulations of the Board of
                                                           Regents (Series 40201), and Student Government and any unit or subdivision thereof.
                                                        F. "Student" means a person who is currently enrolled at UTSA, or attending an educational program sponsored by the
                                                           university while that person is on campus.
                                                        G. "Amplified sound" means sound where volume is increased by any electric, electronic, mechanical, or motor-powered
                                                           means.
                                                        H. "Vice President for Student Affairs" means the Vice President for Student Affairs or any delegate or representative of the
                                                           Vice President for Student Affairs.
                                                         I. "Dean of Students" means the dean of students of the University of Texas at San Antonio or any delegate or representative
                                                           of the dean of students;
                                                         J. "Office of Student Activities" means the office that oversees all registered/sponsored student organizations; this office is
                                                           under the dean of students who reports to the vice president for student affairs.
                                                        K. "Room or space" includes any room or space, indoors or outdoors, owned or controlled by the university.
                                                         L. "University" means The University of Texas at San Antonio (UTSA).
                                                        M. "Weekday" means Monday through Friday except for official university holidays.



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                                                        N. "Day" means calendar day.




 New, Revised and Deleted Policies                                                                                            Our Location
 Policy Amendment Approval Process
                                                                                                                              Institutional Compliance and Risk Services
 UT System - Regents’ Rules & Regulations
                                                                                                                              One UTSA Circle
 UT System - Policy Library
                                                                                                                              San Antonio, Texas 78249
                                                                                                                              Phone (210) 458-4992
                                                                                                                              Directions: Google Map, UTSA Map




 Campus Map      Visitors   Jobs    Campus Alerts    Open Records     Report Fraud     Policies   Required Links   ADA Resources     Web Accessibility   UT System
 © The University of Texas at San Antonio | One UTSA Circle, San Antonio TX 78249 | Information: 210-458-4011 | UTSA Police: 210-458-4242




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